              Case 6:24-bk-03843-LVV       Doc 79    Filed 01/23/25    Page 1 of 2




                                       ORDERED.
 Dated: January 23, 2025




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

 In Re:                                                   Case No. 6:24−bk−03843−LVV

 Chaim Levilev,                                           Chapter 7

                                 Debtor

                      ORDER GRANTING CREDITORS’ MOTION
                   TO RESCHEDULE THE JANUARY 28, 2025 HEARING

          THIS CASE came on for consideration, without hearing, on creditors Nossen Levilev and

Harmless Products, LLC’s Motion (Doc. No. 75) to reschedule the January 28, 2025 hearing on

non-party Breina Levilev’s “Motion to Quash Subpoena, Strike Improper Requests and Requests for

Sanctions For Sanctions” (Doc. No.67). After reviewing the Motion, it is hereby:

          ORDERED that the Motion is granted. The January 28, 2025 hearing on Breina Levilev's

motion to Quash Subpoena, Strike Improper Requests and Requests for Sanctions is rescheduled to

February 11, 2025 at 11:00 AM in Courtroom 6C, 6th Floor, George C. Young Courthouse, 400

West Washington Street, Orlando, FL 32801.
            Case 6:24-bk-03843-LVV          Doc 79     Filed 01/23/25     Page 2 of 2




Attorney David W. Berenthal, Esq. is directed to serve a copy of the Order on all interested parties

who are non-CM/ECF users and file a proof of service within 3 business days of entry of the order.
